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                    IN THE UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF PENNSYLVANIA

EDWARD LEON MAJOR,
                                               FILED ELECTRONICALLY
       Plaintiff,
                                               CIV. ACTION NO. 1:21-cv-00068
       vs.

REKHA HALLIGAN, et al.,

       Defendants.

                      MEMORANDUM OF DR. HERBIK
             AS TO HIS POSITION REGARING DISCOVERY ISSUES

      The instant memorandum is being submitted as instructed by the Court’s August

9, 2024, Order, following Plaintiff’s Motion for Discovery Conference. (ECF Nos.

187, 188).

      Because Mr. Major’s Motion for Discovery Conference only sets forth

generalized issues about discovery between the parties, Dr. Herbik will briefly address

each issue as set forth in the Motion. Dr. Herbik otherwise believes that these issues

will best be addressed between the parties and Court during the upcoming status

conference scheduled for August 20, 2024. Nevertheless, Dr. Herbik respectfully

requests that he be permitted to supplement this memo with additional briefing, should

the need arise, once the parties have had the opportunity to address the specific issues

that may be pending between them.

Mediation


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         First, Mr. Major writes that Dr. Herbik “has not cooperated in Plaintiff’s and the

Department of Corrections’ efforts to schedule alternative dispute resolution; indeed

he has not even agreed to alternative dispute resolution per se, in violation of LCVR

16.2.”

         Dr. Herbik responds that Mr. Major’s characterization of his willingness to

attend mediation as described by his Motion is inaccurate and does not genuinely recall

the conversations between counsel. Counsel has not sought dates independently to

schedule the mediation for the parties because they are not yet authorized to negotiate

on Dr. Herbik’s behalf, as he is covered by a policy issued by the Pennsylvania

Professional Liability Joint Underwriting Association which requires his consent to

settle, and Dr. Herbik has not consented to settle, believing he has committed no wrong.

While alternative dispute resolution is a welcome and appropriate tool for resolving

many civil disputes, it is not properly used as a tool to punish a Defendant who protests

he is not liable. Proceeding with an early ADR session pursuant to the local rules under

these circumstances would likely be fruitless, but Dr. Herbik and a representative of

his carrier and his counsel will certainly attend if one is scheduled. This point can be

discussed more during the upcoming August 20th hearing. Nevertheless, should a date

be set for the parties to attend a mediation, Dr. Herbik would participate. 1


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  Defense counsel adds that counsel and Dr. Herbik have an ongoing discussion regarding consent and that this position
should not be regarded as static, but counsel must honor the informed decision of Dr. Herbik. Counsel must also take
issue with Plaintiff’s insistence about participation in ADR after Plaintiffs’ counsel have done much to frustrate any
hope of meaningful negotiation.

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Objections to Interrogatories

      Next, Mr. Major contends that Dr. Herbik has raised improper objections to

Interrogatories. Upon information and belief, this is the first that Counsel is hearing

that Mr. Major has had an issue with Dr. Herbik’s responses to Interrogatories.

Because Mr. Major does not indicate his specific issue with these response in his

motion, Dr. Herbik will simply attach his responses to this memorandum as evidence

that he has properly responded.

Objections at Deposition

      On review of Mr. Major’s Motion, the referenced deposition of Dr. Herbik was

held on August 7, 2024, at the offices of K&L Gates. During this 5.5 hour deposition,

Plaintiff’s counsel never asked Dr. Herbik about the medical treatment that he

personally provided to Mr. Major, which is limited to four visits in April 2022. Further,

there were occasions upon which counsel for Dr. Herbik was obliged to object and

instruct the witness not to answer, when Plaintiff’s counsel sought to question Dr.

Herbik as an expert witness to provide opinions on the care and treatment rendered by

other physicians.

      It is Dr. Herbik’s position that any questions attempting to elicit his testimony

as to the care rendered by other physicians, or as to the standard of care generally, are

violative of Rule 702 in that these questions improperly ask him to render an expert




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opinion despite him only being a fact witness. See e.g., Rowland v. Novartis Pharms.

Corp., 2014 U.S. Dist. LEXIS 44865* (W.D. Pa. 2014).

      It is also notable that while Plaintiffs’ counsel demanded on the record that Dr.

Herbik should provide an opinion about the propriety or quality of care specifically

provided by Dr. Rekha Halligan (a former defendant who has since been dismissed)

because he was the regional medical director of the territory covering SCI-Albion while

she was medical director of that site, this case does not involve claims of supervisory

liability or respondeat superior inasmuch as the only remaining claims against Dr.

Herbik are brought pursuant to 42 U.S.C. §1983 for alleged violations of his Eighth

Amendment rights. Rode v. Dellarciprete, 845 F.2d 1195, 1207 (3d Cir.1988)

      Finally, during the deposition of Dr. Herbik, Plaintiff’s counsel asked Dr. Herbik

what formed the factual bases of his legal affirmative defenses set forth in the Answer

to the Complaint. Despite Dr. Herbik admitting on the record that did not recall reading

the Answer and did not know what formed the bases of the Affirmative Defenses,

counsel continued to ask about the same, despite the lack of foundation. At this point,

Dr. Herbik’s counsel objected to the line of question as being violative of the

attorney/client privilege insofar as the facts underpinning the Affirmative Defenses

were reliant on legal strategy formed between Dr. Herbik and his counsel. It is

therefore Dr. Herbik’s position that any questions raised during his deposition




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regarding his Affirmative Defenses went directly to his legal strategy and were thus

protected by attorney/client privilege and thus improper.2

         Defendant would further observe that while questioning a Defendant about

affirmative defenses or “new matters,” included in an Answer, which is a common

enough, if somewhat impertinent deposition tactic in civil actions proceeding in the

Courts of Common Pleas of Pennsylvania, (which usually accomplishes little more

than embarrassing a defense counsel who has not prepared his witness for such an

approach), it is truly a pointless exercise in cases in federal court. In Pennsylvania

actions the Defendant must verify the answer personally avowing having read and

understood the document, which is not the case proceeding under the federal rules, in

which the Answer is entirely within the lawyer’s domain.

                                                      Respectfully submitted,

                                    WEBER GALLAGHER SIMPSON STAPLETON
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 Although counsel requested an expedited transcript from Dr. Herbik’s August 7, 2024, deposition, he is not yet in receipt
of the transcript or else he would make it available to the Court.

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                          CERTIFICATE OF SERVICE

      I, Samuel H. Foreman, Esquire, hereby certify that on this date a true and correct

copy of the foregoing MEMORANDUM OF DR. HERBIK AS TO HIS POSITION

REGARING DISCOVERY ISSUES was served by CM/ECF Notice to all counsel

of record upon the following:

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                                        Sam Foreman, Esquire

Dated:        August 15, 2024




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